Case 1:16-cv-00832-MV-KBM Document17 Filed 12/20/18 Page 1 of 1
IGCVS8ZZ mMV/KBM.-
Oss. Repartinent of daitice PROCESS RECEIPT AND RETURN

United States Marshals Service See “Instructions jor Service of Process by US. Marshai”

 

 

PLAINTIFF | COURT CASE NUMBER

 

 

United States of America | 16-832 MV/KBM
DEFENDANT i - |_ TYPE OF PROCESS
Acoma Ceremonial Shield, et.al. ‘Personal Service/Summons

 

 

NAME OF INDIVIDUAL. COMPANY CORPORATION ETC TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE J Jerold Logan Collings
AT ADDRESS (Street or RFD, Apartment No.. ity. State and ZIP Code)

150 Brushy Mountain Rd.. Mule Creek, NM 88051

 

 

  

_ ear tataaeeee s seston ee
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Siuniien of aces be
=a aaa anata aaa See served with this Form 285. | 1
' STEPHEN R. KOTZ. AUSA ll spsvaenanenie TO
Number of parties to be
P.O. BOX 607 eae

| served in this case

Albuquerque. NM 87103

————t—

Check for service
| | on USA
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (include Business und Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):
foe ry
|. Personally serve Jerold Collings with the attached copy of the Verified Complaint for Forfeiture in Rem and the Notice of
Complaint for Forfeiture Against Property.
2. Return completed copies for filing. 16-FBI-005462

 

Signature of Anomey other Onginator requesting service on beha! fof Xl PLAINTIFE TELEPHONE NUMBER | DATE
Ja” be — CIDEFENDANT —-505.346.7274 | 12/12/18

 

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE

! acknowledge receipt for the total. «| Total Process ' District of | District to | Signature of Authorized USMS Deputy or Clerk Date
“) 7

|
number of process indicated | ' Ongn | Serve | OY
(Sign only for USM 285 if more | S | | | | J / i " (Cf ag 2 b | 5
than one USM 255 ts submitted) | | No 0 ce | No est | ( et

m4 Voir
Lhereby certi!y and retum that | Xi have personally served .L_J have legal evidence of service,_J have executed as shown in “Remarks”, the process desenbed
on the individual . company. corporation, etc , at the address shown above on the on the individual . company. corporation. ete shown at the address inserted below

 

 

“] Thereby certify and return that |. am unable te locate the individual, company. corporation. ete named above (See remarks below)

 

 

Name and ttle of individual served (if nor shown above) | [1 A person of suitable age and discretion
! then residing in defendant's usual place

Address fcomplete only different than shown above! | Date | Time a
I

2107 elgrway (89% [2-18-2082 00 Rie
Siler CY (NN GB Bole | B rey

 

 

 

 

 

 

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Service Fee ; Total Mileage Charges! Forwarding Fee Total Charges | Advance Deposis | Amount owtdfte 1S Marshal® or
$ including endeavors; | | tAmount of Refund?)
| | :

26000 llI2 iow $77.72] ©. 00 | ser 3) 7 27
REMARKS
No charge IP AWA Mont -
1 CLERK OF THE COURT PRIOR EDITIONS MAY BE USED

2 USMS RECORD
3 NOTICE OF SERVICE
4 BILLING STATEMENT® To be retumed to the US Marshal with payment.
any amount is owed Please remit promptly payable to US, Marshal Form USM-285

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ACKNOWLEDGMENT OF RECEIPT Rev IES
